               Case 2:23-cr-00178-RAJ Document 6-1 Filed 11/20/23 Page 1 of 2




1                                                                The Honorable Richard A. Jones

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7                             UNITED STATES DISTRICT COURT FOR THE
                                WESTERN DISTRICT OF WASHINGTON
8                                         AT SEATTLE
9
10    UNITED STATES OF AMERICA,                            NO. CR23-178 RAJ and
                                                           NO. CR23-179 RAJ
11                             Plaintiff,
12                                                         [Proposed] ORDER                 GRANTING
                                                           SUPPLEMENTAL                       MOTION
13                       v.
                                                           REGARDING SEAL
14    BINANCE HOLDINGS LIMITED, d/b/a
      BINANCE.COM, and                                     FILED UNDER SEAL
15    CHANGPENG ZHAO, aka “CZ,”
16
                                        Defendants.
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            The United States has moved to modify the previously entered orders providing
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     for unsealing of these cases at 9:00 a.m. on the morning of the plea hearings. The United
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     States now requests that the cases and dockets remain sealed and off the public calendar
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     until the hearing begins at 10:00 a.m. on November 21, 2023.
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            For the reasons set forth in the motion of the United States, the Court finds that
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     there are compelling reasons to modify the seal, that those reasons outweigh the public’s
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     interest in immediate disclosure, and that there is no effective alternative to the
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     modification. Accordingly, the Court ORDERS that the matters may be unsealed and
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     placed on the public docket and calendar at 10:00 a.m. on November 21, 2023 (other than
26
27
      Order to seal- 1                                               UNITED STATES ATTORNEY
      United States v. Zhao/CR23-179RAJ                             700 STEWART STREET, SUITE 5220
      United States v. Binance/CR23-178RAJ                            SEATTLE, WASHINGTON 98101
                                                                            (206) 553-7970
              Case 2:23-cr-00178-RAJ Document 6-1 Filed 11/20/23 Page 2 of 2




 1 matter sealed pursuant to separate sealing motions).
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 3         IT IS ORDERED
 4         DATED this               day of November, 2023.
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 7                                                    HON. RICHARD A. JONES
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     Presented by:
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11
   s/Michael Dion
12 MICHAEL DION
13 Assistant United States Attorney
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     Order to seal- 2                                          UNITED STATES ATTORNEY
     United States v. Zhao/CR23-179RAJ                        700 STEWART STREET, SUITE 5220
     United States v. Binance/CR23-178RAJ                       SEATTLE, WASHINGTON 98101
                                                                      (206) 553-7970
